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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

WILLIAM C. COLLINS, JR.                 )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )         CIVIL ACTION FILE NO.
                                        )         _______________________
                                        )
SEQUIUM ASSET SOLUTIONS,                )
LLC,                                    )
                                        )
                                        )
      Defendant.                        )

                                 COMPLAINT

      Pursuant to Federal Rule of Civil Procedure 8, plaintiff William C.

Collins, Jr., respectfully shows the Court the following:

                        Parties, Jurisdiction and Venue

      1.     Mr. Collins is an individual and a resident of the State of Georgia.

Mr. Collins is a “consumer” under 15 U.S.C. § 1681a(c).

      2.     Defendant Sequium Asset Solutions, LLC (“Sequium”) is a

Georgia limited liability company. Sequium is subject to the jurisdiction of

this Court and may be served with process by serving its registered agent,

Registered Agent Solutions, Inc., at 900 Old Roswell Lakes Parkway, Suite

310, Roswell, Georgia 30076.


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      3.    The Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331 because the claims asserted in this civil action

arise under the laws of the United States, specifically 15 U.S.C. § 1681 et seq.,

which is also known as the Fair Credit Reporting Act (“FCRA”).

      4.    Venue is proper in this District and this Division pursuant to 28

U.S.C. § 1391(b)(1) and (b)(2) and Local Rule 3.1B(1)(a) and (3).

                             Factual Background

      5.    In July 2020, Mr. Collins checked his credit score on his online

banking application. He learned that his credit score plummeted.

      6.    Mr. Collins investigated to determine the reason for the decline.

      7.    He obtained copies of his credit reports from Equifax, Experian,

and TransUnion.

      8.    When he reviewed his credit reports, he saw that inaccurate and

derogatory information appeared on each of them. Specifically, each report

contained a collection account in which Defendant Sequium reported that

Mr. Collins owed $211 to Comcast.

      9.    Mr. Collins knew that he did not have an account with Comcast,

and that he did not owe Comcast any money.




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      10.   In an effort to correct the inaccurate, derogatory information on

his reports, Mr. Collins exercised his rights under Section 611 of the FCRA

and disputed the information to Equifax, Experian, and TransUnion.

      11.   In response to Mr. Collins’ disputes, Equifax and Experian

promptly corrected their reports.

      12.   However, on August 19, 2020, TransUnion sent Mr. Collins a

letter in which it indicated that its investigation revealed that the disputed

item was “verified as accurate”. TransUnion’s letter further indicated that

the disputed inaccurate and derogatory information was provided by

“Sequium Asset Solutions, Inc.”

      13.   Under the FCRA, Sequium was obligated to conduct a

reasonable reinvestigation of Mr. Collins’ dispute. Sequium failed to conduct

a reasonable reinvestigation of Mr. Collins’ dispute by (i) failing to confirm

Mr. Collins’ identity, (ii) failing to confirm the identity of the person who

actually applied for and received the Comcast service at issue and (iii) failing

to confirm that Mr. Collins had never resided in the location where the

Comcast service was provided. Instead, Defendant merely confirmed the

accuracy of the information it furnished to TransUnion, making no

investigation whatsoever of Mr. Collins’ dispute.

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      14.         Specifically, Sequium’s failure to conduct a reasonable

reinvestigation of Mr. Collins’ dispute violated 15 U.S.C. § 1681s-2(b).

      15.         As a proximate result of Sequium’s violation of the FCRA, which

is alleged above, Mr. Collins has suffered emotional distress in the form of

sleeplessness, anxiety, inability to focus, feelings of helplessness,

humiliation and embarrassment.

                         Count 1 – Violation of 15 U.S.C. §1681s-2(b)

            16.     Sequium negligently or willfully failed to (i) conduct a

reasonable reinvestigation of Mr. Collins’ disputes and (ii) correct the

inaccurate information it furnished to TransUnion after receiving notice of

Mr. Collins’ dispute.

            17.      As a proximate result, Mr. Collins has suffered actual

damages in an amount to be proven at trial.

            18.     In the alternative and as a result of Sequium’s reckless and

willful violation of 15 U.S.C. § 1681e(b), Mr. Collins is entitled to recover

statutory damages in the amount of $1,000 as allowed by 15 U.S.C. §

1681n(a)(1)(A).




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           19.     As a result of Sequium’s reckless and willful violations of 15

U.S.C. § 1681s-2(b), Mr. Collins is entitled to recover punitive damages as

allowed by 15 U.S.C. § 1681n(a)(2).

           20.     Mr. Collins is also entitled to recover the costs of this action

and his reasonable attorneys’ fees as allowed by 15 U.S.C. § 1681n(a)(3) or 15

U.S.C. § 1681o(a)(2).

      WHEREFORE, Mr. Collins respectfully prays that the Court:

      1.         Issue process to Defendant;

      2.         Conduct a trial by jury of all claims asserted herein;

      3.         Enter judgment in favor of Mr. Collins as consistent with the

jury’s verdict; and

      4.         Grant Mr. Collins such other and further relief as it deems just

and necessary.

      This 12th day of October, 2020.

 MCRAE BERTSCHI & COLE LLC                      /s/ Charles J. Cole
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                                    Counsel for Plaintiff




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